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                                                        EXHIBIT 50
            Iraq
            Al-Qaeda linked to operations from Iran

            Stephen Fidler in London JULY 6 2007

            Evidence that Iranian territory is being used as a base by al-Qaeda to help in terrorist
            operations in Iraq and elsewhere is growing, say western officials.

            It is not clear how much the al-Qaeda operation, described by one official as a money
            and communications hub, is being tolerated or encouraged by the Iranian
            government, they said.

            The group’s operatives, who link the al-Qaeda leadership in Pakistan with their
            disciples in Iraq, the Levant and North Africa, move with relative freedom in the
            country, they said.

            The officials said the creation of some kind of al-Qaeda hub in Iran appears to be
            separate from the group of seven senior al-Qaeda figures, including Saad bin Laden,
            son of the group’s figurehead, that Iran is said to have detained since 2002.

            A senior US official said the information had produced different assessments. “The
            most conservative, cautious intelligence assessment is that [the Iranian authorities]
            are turning a blind eye. But there are a lot of doubts about that,” he said.

            “They are benefiting from the mayhem that AQ is carrying out. They don’t have to deal
            with al-Qaeda to benefit.”

            Yet while Tehran might be content with the pressure al-Qaeda is placing on the US
            occupation in Iraq, Iran, as a state based on Shia Islam surrounded by mainly Sunni
            countries, has long been wary of al-Qaeda’s fierce brand of Sunni Islam.

            A former Iranian official said Iran feared al-Qaeda and did not want to distract it from
            Iraq, dismissing any idea that Iran was supplying it with weapons. “Our relationship
            with al-Qaeda, at an intelligence level, can be said to be successful as long as
            they are at a distance,” he said.
           https://www.ft.com/content/9cc4d5f4-2be3-11dc-b498-000b5df10621


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           Analysts say several Sunni extremist groups, some presumed linked to al-Qaeda and
           from various ethnic groups including Kurds, are in Iran. US-led military action in Iraq
           has led some to seek refuge over the border.


           In the past, Tehran has also been a target of al-Qaeda attacks. A militant Sunni group
           based in Pakistan and possibly linked to al-Qaeda was suspected of the 1994 bombing
           of the shrine of the seventh Shia Imam, Reza, in Mashhad, killing 26 people.

           Iran has also shown growing concern over Jundullah, a radical Sunni group from the
           restive south-east area of Balucestan that has carried out violent attacks in recent
           years.

           Three years ago, Pakistani officials said members of al-Qaeda had begun leaving
           Pakistan’s border region close to Afghanistan and heading for Iraq. Of the routes
           used, going overland via Iran was the easiest. That traffic might have increased as
           links between al-Qaeda and its Iraq offshoot intensify.

           Additional reporting by Gareth Smyth in Tehran and Farhan Bokhari in Islamabad



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